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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------X
                                                              :
                                                              :
                                                              :
                                                              :    13 Civ. 7789 (LGS)
 In re FOREIGN EXCHANGE BENCHMARK                             :
 RATES ANTITRUST LITIGATION                                   :   SCHEDULING ORDER
                                                              :
                                                              :
                                                              :
 ------------------------------------------------------------ X

LORNA G. SCHOFIELD, District Judge:

        WHEREAS, this action is trial ready;

        WHEREAS, there are currently no cases on the Court’s October 2022 trial-ready

calendar. It is hereby,

        ORDERED that this action will be placed in first place on the Court’s October 11, 2022,

trial-ready calendar. The jury trial will begin on Tuesday, October 11, 2022, at 9:45 a.m. or the

Court’s first available date thereafter, subject to the availability of courtrooms during the

COVID-19 pandemic. It is further,

        ORDERED that the parties shall be ready to proceed on 24 hours’ notice on or after

October 11, 2022. It is further,

         ORDERED that in accordance with and as further provided in Individual Rule IV.B:

             (1) Any motions in limine shall be filed by August 12, 2022. Responses to the

                 motions shall be filed by August 19, 2022. No reply shall be filed. The parties

                 shall follow the Court’s Individual Rules regarding such motion.

             (2) Joint requests to charge, voir dire, verdict form and any memorandum of law, as

                 provided in the Court’s individual rules, shall be filed by August 19, 2022.
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             (3) The final pretrial order shall be filed by August 26, 2022.

       .

                                                    * * * *

       The parties are encouraged to:

             (1) Contact Courtroom Deputy James Street at (212) 805-4553 closer to the trial date

                 if they wish to know where they stand on this list.

             (2) Confer and consent to a trial before a Magistrate Judge (per the attached form) if

                 they wish to have a trial date certain or if they wish a different trial date. If a

                 Magistrate Judge has overseen settlement discussions, the parties may request a

                 different Magistrate Judge (to be randomly selected) as the trial judge.

             (3) Confer and advise the Court immediately by joint letter if they would like a

                 referral to a Magistrate Judge or court appointed mediator for a settlement

                 conference. Such referral will not stay the dates in this Order.

       The final pretrial conference will be scheduled closer to the trial date.


Dated: February 3, 2022
 New York, New York
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AO 85 (Rev. 02/17) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                         UNITED STATES DISTRICT COURT
                                                                            for the
                                                    SOUTHERN DISTRICT OF NEW YORK

                                                                                )
                                 Plaintiff                                      )
                                    v.                                          )     Civil Action No.

                                                                                )
                                Defendant                                       )



           NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

         Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct
all proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment
may then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate judge
may exercise this authority only if all parties voluntarily consent.


        You may consent to have your case referred to a magistrate judge, or you may withhold your consent without adverse
substantive consequences. The name of any party withholding consent will not be revealed to any judge who may otherwise
be involved with your case.


       Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.


       Printed names of parties and attorneys                                 Signatures of parties or attorneys                 Dates




                                                                     Reference Order

        IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and
order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.



Date:
                                                                                                    District Judge’s signature



                                                                                                     Printed name and title

Note:     Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
          magistrate judge. Do not return this form to a judge.
